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              IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                    :
PRESIDENT, INC., et al.,               : No. 2:20-CV-00966-NR
                                       :
                   Plaintiffs          :
                                       : Judge J. Nicholas Ranjan
      v.                               :
                                       :
KATHY BOOCKVAR, et al.,                : Electronically Filed Document
                                       :
                   Defendants          :

AFFIDAVIT OF MICHÉLLE POKRIFKA IN SUPPORT OF MOTION FOR
                 ADMISSION PRO HAC VICE

      I, Michélle Pokrifka, make this affidavit in support of the motion for my

addition to appear and practice in this Court in the above-captioned matter as counsel

pro hac vice for Defendant York County Board of Elections pursuant to LCvR 83.2,

LCvR 83.3, and this Court’s Standing Order Regarding Pro Hac Vice Admissions

dated May 31, 2006 (Misc. No. 06-151). I do hereby depose and say as follows:

      1.     I am the Solicitor for the County of York, Pennsylvania.

      2.     My business address is County of York, York County Solicitor’s

Office, 28 East Market Street, 2nd Floor, York, PA 17401.

      3.     I am a member in good standing of the bars of the Supreme Court of

Pennsylvania and Middle District of Pennsylvania.

      4.     My bar identification number is 66654.

      5.     A current certificate of good standing from the Supreme Court of
                                ATTACHMENT - 1
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Pennsylvania has been requested and will be filed as a separate document upon

receipt.

      6.       There are no previous disciplinary proceedings concerning my practice

of law that have resulted in a non-confidential negative finding or sanction by the

disciplinary authority of the bar or any state or any United States Court.

      7.       I attest that I am a registered user of ECF in the United States District

Court for the Western District of Pennsylvania.

      8.       I attest that I have read, know and understand the Local Rules of Court

for the United States District Court for the Western District of Pennsylvania.

      9.       Based on the foregoing, I respectfully request that I be granted pro hac

vice admission in this matter.

      I certify and attest that the foregoing statements made by me are true. I am

aware that if any of the foregoing statements made by me are false, I am subject to

punishment.

                                         MICHÉLLE POKRIFKA
                                         Solicitor for York County, Pennsylvania

Date: July 9, 2020                       s/ Michélle Pokrifka
                                         Michélle Pokrifka, Esquire
                                         Attorney ID 66654
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                                         York, PA 17401
                                         Phone: (717) 771-4777
                                         Email: mpokrifka@yorkcountypa.gov
